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                        \
\                                UNITED STATES DISTRICT COURT
                                      NORTHERN DIVISION

                                                CASE NO.:


    EDGINA T. HENDRIX-SMITH

           Plaintiff,

    V.                                                               1122-CV-206 3
    FAMILY TIES, INC.

           Defendants,
    - - - - - - - - - - - - -I
                                    COMPLAINT FOR DAMAGES

           COMES NOW, PlaintiffEdgina T. Hendrix-Smith, a resident of the State of Georgia and

    files this Complaint for Damages against Family Ties, Inc. and shows as follows:


                                      GENERAL ALLEGATIONS


    This is a Civil Action for Wage Theft, Fraud, Medicaid and Insurance Fraud, and Identity Theft

    as well as Deceitful and Unfair Business Practices. Plaintiff is requesting damages for Emotional

    Distress. Plaintiff is requesting a judgment in the amount of $1,250,000.00 (one million, two-

    hundred and :fifty-thousand dollars). Venue for this action is properly laid in the United States

    District Court Northern District of Georgia in Fulton County, City of Atlanta, State of Georgia.

           a. The causes of action alleged in this Complaint accrued in Fulton County,

           Georgia;

           b. Plaintiff is a resident of Gwinnett County, Georgia;

           c. Defendant(s) Family Ties, Inc. have a principal business address in Atlanta, Georgia;

           d. All conditions precedent to this action has been performed or have occurred in
           Fulton County and Gwinnett County, Georgia.
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       e. At all times material hereto, Edgina T. Hendrix-Smith (hereinafter Plaintiff) was a

        Mental Health Therapist and Employee of Family Ties, Inc.


   2) At all times material hereto, Family Ties, Inc. (hereinafter Defendant) was an

       Employer of Plaintiff.

   3) Pursuant Wage Theft, Fraud, Medicaid Fraud and Insurance Fraud, as well as

Unfair Business Practices, the Plaintiff has been treated unfairly and wrongfully terminated and

has endured Emotional Distress and should receive Punitive Damages for Wage Theft, Fraud,

and Identity Theft for the Defendants ruthless business practices. Plaintiff is requesting a

judgment in the amount of

$1 , 250,000.00 (one million, two hundred and fifty-thousand dollars).

                                         BACKGROUND

   4) In summary, this action arises out of Family Ties, Inc. forcing Plaintiff from employment

       after Plaintiff complained to staff about Medicaid Theft, Insurance Fraud, Wage Theft,

       Fraud, and Identity Theft. Plaintiffs name was used to generate a note in the e-case

       system which was not completed or authorized by Plaintiff. As a result of concern for

       consumers who Family Ties serves, as well as my personal paycheck and insurance,

       Plaintiff requested to meet with CEO and Mr. Randy Joseph multiple times via e-mail, to

       no avail. It is the Plaintiffs belief that Family Ties, Inc. staff attempted to coerce Plaintiff

       into participating in illegal activity, and when Plaintiff refused, her position was

       terminated.

                       5)       On or around December 17, 2021, Plaintiff received a letter from

               the court stating that my case had been Dismissed. No monies had been taken out

               of my paycheck the entire time that my case was opened. Plaintiff had never
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   given authorization for monies to be taken out of my paycheck. On Plaintiff's

   paycheck dated December 15th, 2021 through December 31, 2021, a sum in the

   amount of $850.00 was taken out by Family Ties, Inc. (Please see Exhibit A,

   paycheck from Family Ties, Inc.) Plaintiff made every effort to explore why

   monies were taken out and who took the money. On February 1, 2022 through

   February 15, 2022, another payment for $850.00 was mysteriously taken from

   me. After confronting the Accountant, Ms. Tamara Jackson, about the missing

   monies and threatening legal action, an amount of $850.00 was returned back to

   me in February 2022, however, Plaintiff had to send repeated e-mails and threats

   oflegal action to get money returned back to me from Family Ties. In February

   2022, Family Ties, Inc. again, failed to pay me for the work in which I completed.

   I informed Mr. Randy Joseph and Ms. Allyson, the Human Resource Officer.

   Plaintiff received a refund at a later date. In early April 2022, Plaintiff completed

   four assessments but was only paid for two. Plaintiff notified staff, and was paid

   almost one month later. According to staff, all documents were not submitted, yet

   his was not relayed to me. In other words, had Plaintiff not fought for wages, the

   money would not have been paid out. In late April 2022, Plaintiff witnessed over

   8-10 notes that I completed, but they had not been paid out to me. Plaintiff met

   with Supervisor, Tiffani Cruz, and expressed my ongoing frustration with my pay.

   This was later paid out to me. On April 26, 2022 and April 27, 2022, medical staff

   requested Plaintiff to complete reassessments so clients could be seen the next

   business day. Plaintiff completed the reassessment in a timely manner. On May 1,

   2022, the two re-assessments were again, not included onto my May 1, 2022
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   paycheck. Plaintiff notified Mr. Randy Joseph and Ms. Allyson about pay

   concerns. According to staff, the treatment plans needed to be amended. When I

   attempted to resolve the treatment plan issue, I was later told that the treatment

   plans were not signed. The treatment plans were in fact signed, so Plaintiff e-

   mailed signature pages again for verification. Plaintiff received an additional e-

   mail stating treatment plans still needed to be corrected. Trying to get resolution

   was extremely frustrating and finally, on May 15, 2022, Plaintiff received back

   pay for the above noted treatment plans. On April 27, 2022, Plaintiff received a

   phone call from Liberty Insurance advising that life policy had not been paid by

   Family Ties, Inc. despite it being deducted from payroll. On May 1, 2022,

   Plaintiff received a letter from Global Liberty indication policy was placed on a

   cancellation. Plaintiff uploaded cancellation notice and sent to Mr. Joseph, Ms.

   Allyson, and Ms. Tamara Jackson. Plaintiff failed to get a response on why policy

   had not been paid for over 3 days. Ms. Jackson, the Accountant, to date never

   replied to my e-mail, however, I was contacted by Ms. Allyson but was not

   provided a reason for such negligence. (Exhibit B, Letter from Life Insurance

   Company).

          6)      Plaintiff noticed units from consumers were mysteriously removed

   and when Plaintiff attempted to bill for work done, units were gone. Plaintiff

   complained to Supervisors Tiffani Cruz and Elicia Green as well as Randy Joseph

   and Ms. Allyson. Back in January 2022, a Department of Family Children' s

   Services Worker called to confirm that she sent units for a male consumer. She

   complimented me and expressed that she the service I provided and that the male
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   client was pleased with therapy. Upon checking and contacting Supervisors about

   the missing authorization and units DFCS alleged were sent, I received no

   response from my superiors. Two weeks later, Elicia Green fmally noted she had

   been ill, which is why my e-mails went unheard. In January 2022, I received

   another call from a separate DFCS Worker. This case involved serious charges of

   animal cruelty and cruelty to children. This case worker called 6-7 times and left

   multiple messages requesting that I remain on the case to service two clients.

   Plaintiff responded by informing worker that I would love to provide services,

   however, there were no more units remaining. Plaintiff informed Supervisors

   Tiffani Cruz and Elicia Green that Case Worker insisted that she sent

   Authorization and units in early March 2022 so that consumers could remain in

   my care. Again, I received a second compliment, and consumers requested

   services from me. Plaintiff had last seen couple in January 2022. On May 13,

   2022, Elicia Green, notified me via e-mail that these same clients and the case

   worker wanted me to continue with therapy. These clients mysteriously

   reappeared on my case 3 days ago and upon checking for Authorization, as the

   case worker stated, she in fact completed the authorization back in March 2022

   and it was approved through July 22, 2022. There were only 2 hours remaining on

   this case. I did not feel comfortable taking over the case due to the missing units

   and the fact that the authorization was approved in March 2022, yet was placed

   onto my caseload on or around May 13, 2022. I suspected fraud and informed all

   parties involved. In March 2022, another separate Case Worker called about a

   consumer who I provided services too. Again, the Case Worker was pleased with
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   my work and wanted me to continue services. When I looked in the computer for

   authorization, I saw the units in which the case worker sent. When I went back

   into the computer and during a staffing, the units were gone. Finally, on a case

   that was recently added back to my caseload, I received multiple correspondences

   from DFCS indicating that authorization and monies had been sent to conduct

   therapy on a couple who were addicted to substances. Services were interrupted

   and Plaintiff was told that no units were available, however, upon having this case

   added to my caseload, the authorization had in fact been sent in January 2022. I

   did not feel comfortable attaching my name to these cases due to the missing units

   and the lies told by staff. I recorded our conversation for proof and verification

   and can prove my case before a jury trial. Furthermore, I was the only Therapist

   assigned to all of my cases. Family Ties, Inc. agreed to pay me for Therapy and

   Skills training, however, I was never compensated for Skills Training to date.

   This is months of work in which I was not paid for Skills Training. Again, I

   complained to Ms. Allyson, Ms. Tiffani Cruz, Ms. Elicia Green and Mr. Randy

   Joseph. According to Ms. Tiffani Cruz, the Skills units were all used up and I was

   told to request additional units so that I can provide Skills Training, in which I

   did. The only problem is, how can the Skills units be used up when I was the only

   person providing skills training but never received compensation? I in fact have e-

   mails, recording, and documentation to support my claims. When Plaintiff

   confronted staff via zoom that Plaintiff had concerns about fraud, I was attacked.

   During the conversation, in which I recorded, I informed Ms. Tiffani Cruz, Ms.

   Elicia Green, and Ms. Allyson that I needed a lawyer present and that I was
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               ending the zoom. I was then locked out of the computer system and terminated for

               taking a stand for my pay and for failing to participate in fraud. I have never been

               reprimanded prior to the zoom meeting on May 18, 2022 and I was retaliated

               against for taking a stand for those in need of help, the mentally ill and the

               disabled. This behavior sickened me and caused me emotional distress. I feel

               badly for the clients I am no longer able to serve due to greed. It is my belief that

               Family Ties, Inc. owes me hundred of dollars. Plaintiff plans to file 1099A's with

               the Internal Revenue Service for the purpose of verification of wages.




                             COUNTI
 VIOLATION OF THE FEDERAL TRADE COMMISSION ACT WHICH PROHIBITS
    UNFAIR AND DECEPTIVE BUSINESS PRACTICES SECTION 5 (a) OF THE
             FEDERAL TRADE COMMISSION ACT <FTC ACT)

Plaintiff alleges and adopts paragraphs as set forth herein and further alleges:

    1) The Federal Trade Commission Act States as follows :

       Deceptive Practices: An act or practice is deceptive where a representation, omission, or
       practice misleads or is likely to mislead the consumer; a consumer's interpretation of the
       representation, omission, or practice is considered reasonable under the circumstances;
       and the misleading representation, omission, or practice is material.

       Unfair Practices: An act or practice is unfair where it causes or is likely to cause
       substantial injury to consumers; cannot be reasonably avoided by consumers;
       and is not outweighed by countervailing benefits to consumers or to competition.
       Public policy, as established by statute, regulation, or judicial decisions may be
       considered with all other evidence in determining whether an act or practice is unfair.

   2) Plaintiff contends that Family Ties, Inc. are guilty of fraud theft, wrongful termination

       and retaliation.
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   3) Plaintiff contends that the Defendants are guilty of using deceptive business practices in

        an effort to steal money using Plaintiffs name. Defendants have continuously lied about

        the status of my pay.

   4) At all times, defendants had a duty to obey the laws prescribed by the Federal

Trade Commission Act which prohibits unfair and deceptive business practices. By failing to

comply with these acts, the Defendants have acted in a negligent and abusive manner.

Defendants are guilty of violating federal laws related to federal statute 18 USC 1343- Wire

Fraud as a Federal Crime, 18 USC 1028A- Aggravated Identity Theft and Fraud and related

activity in connection with identification documents, authentication features, and information,

and 18 USC 1621- Perjury.

   5)    Wage Theft

   6)     Fraud and Identity Theft


   WHEREFORE, plaintiff prays for judgment against the defendants as follows :

   a. For general damages in excess of $1,250,000.00 (one million-two hundred and fifty

        thousand dollars)

   b. For financial loss incurred, time loss, emotional distress, research fees

   c. For cost of suit incurred herein

   d. For pro se fees incurred herein, and

   e. For such other and further relief as the court deems proper.

Dated: May18, 2022                                     Respectfully Submitted by:
                                                                           r
                                                           Isl E ~ H~Sm/0,,,
                                                           Edgina T. Hendrix Smith
                                                           3855 Yosemite Park Lane
                                                           Snellville, Georgia 30039
                                                            ginahendrix@hotmail.com
                                                            (305) 904-7059
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 18thday of May, 2022, a true and correct copy of the
foregoing was mailed via certified mail with the USPS and filed with The United States District
Court, Northern District of Atlanta, Georgia and a Copy will be mailed to defendant(s) via
Regular USPS.




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                                                                                                                             , .e 400
                                                                                                                                                                           Check Date: 01/14/2022
                                                                                                                                                                       Check Number: 902921927
                                                                                                    Sandy Spring.          ,A 30328                                     Pay Frequency: Semi-Monthly

      ~ FamilyTies                                                                                           --678-460-0345        ~ I
                                                                                                                                                                     Pay Period Dates: 12/16/2021 - 12/31/2021
                                                                                                                                                             Tax Freq for this Payment: Semi-Monthly


                               Employee Information                                                          Tax Type              Tax Jurisdiction      Status         Exem         Adjs      Other Tax lnformati
                                               ID#: 10102932                                         Federal                                               Single          0                             2c: No
Edgina TSmith
3855 YOSEMITE PARK lANE                        SSN:                                                  State                                  GA               D
SNELLVILLE, GA 30039                           Pay Type:
                                                              Base Rate :
                                                              Dept: Clinical

     -              -                                                  Earnings                                                                          --        -- Pre-Tax Deductions Withheld                 -
 Pd Start        Pd End         Description                 Pay Rate        Hrs/Units            Earnings             YTD Hrs      YTD Earnings           Description          Sch/Amt    Curr Amt              YTDAmc
                             FP Counsel                                         26.5000               715.50             26.SOOO           715.50
                             Pho_ne Reim                                                               40.00                                40.00
                             FP Mileage                                                                17.28                                17.28
                             MH Tele                                                  8.5000          221.00              8.5000           221.00




                                                                                                                                                                  Total Pre-Tax
                                                                                                                                                                               Taxes W ithh eld
                                                                                                                                                            Description         Tx Wages       Curr Amt    YTDAm<
                                                                                                                                                    Fed MWTEE                        936.50          13.58
                                                                                                                                                    FedW/H                           936.50          39.69
                                                                                                                                                    FICA EE                          936.50          58.06
                                                                                                                                                    GAW/H                            936.50          24.40




                                                                                                                                                                                                       135.73

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                                                                                                                                                                                                      850.00       8




Job Title:
                       Total Hou rs & Earnings

                                       Therapist
                                              0.00
                                                            .   .
                                                                                      35.0000            993.78

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Paid Time Off - Hours Balance Hour!
Paid Time Off - Hours Restricted B;rla        0.00                                                                                                                                     Account Number                 Amou




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                                                                                                                                                                                        BAN KOF AMERICA, N.A.
                                                                                       Family Ties Enterprise, Inc.                                                                     PO BOX 27025

         ~ FamilyTies                                                                           270 Carpenter Dr Ste 400                                                                RICHMOND VA 23261
                                                                                                Sandy Springs, GA 30328
                                                                                                                                                                                        XX-XXXXXXX I

    Payment Solutions Support
    17390 Brookhurst St                                                                         DATE:         01/14/2022                                                  CHECK NO:         902921927
    Fountain Valley CA 92708

    PAY                                                                                                                                                                                                $8.05
                  Eight and 05/100 Dollars
    TO THE
    ORDER                                                                                                                                                                   VOID AFTER 180 DAYS
    OF            Edgina Smith
                  3855 YOSEMITE PARK LANE
                  SNELLVILLE, GA 30039


              THE BACK OF THIS CHECK CONTAINS A S CURITYMARK • DO NOT ACCEPT WITHOUT HOLDING AT AN ANGLE TO VERIFY SECURI                                                                                       A      •'
               .:.,.-.__ Case
5/12/22, 3:43~AM                1:22-cv-02063-SCJ Document 3 Filed 05/25/22 Page 11 of 16
        attempted to call twice yesterday, and I also called Ms. Tamara Jackson's voicemail but have not
       received a reply. I await your r~sponse. Thanks,,




       From: EDGINA SMITH
       Sent: Monday, May 9, 2022 6:30 PM
       To: Tamara Jackson <tjackson@familytiesinc.com>
       Cc:· Allyson Moore <amoore@familytiesinc.com>
       Subject: INSURAN_CE NON-PAYMENT AND CANCELATION ENCLOSED FOR EDGINA T. HENDRIX SMITH

       GOOD EVENING MS. JACKSON:

       I SENT YOU A PREVIOUS E-MAIL REGARDING A LIFE INSURANCE POLICY THAT I HAD TAKEN OUT. I
       RECEIVED A PHONE CALL FROM A MS. RUBY INDICATING THAT THE BILL WAS DUE BUT HAD NOT BEEN
       PAID BY PAYROLL. I WENT TO MY MAILBOX AND FOUND THIS LETTER INSIDE. CAN YOU PLEASE LET ME
       KNOW WHAT IS GOING ON? ALSO, CAN YOU PLEASE PROVIDE ME WITH THE OTHER INSURANCE
       INFORMATION, INCLUDING PHONE NUMBERS FOR MY SHORT TERM DISABILITY POLICY AND ANOTHER
       POLICY THAT I TOOK OUT IN THE WINTER OF 2021?

       I WOULD GREATLY APPRECIATE IT. JUST WANT TO ENSURE THAT MY AFFAIRS ARE IN ORDER. THANK YOU
       IN ADVANCE!

       EDGINA SMITH, THERAPIST




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                                                                                                       PO Box 248889
. Globe Life                                                                               Oklahoma City, OK 73124
                                                                                                        888-488-0134
                                                                                        GlobelifelibertyNational.com


May 2, 2022




      RE : FAMILY TIES                                                         Monthly Premium:                $33.53
                                                 00158 / 00228                 Premium with Auto-Pay:          $33.53
      EDGINA T SMITH
      3855 YOSEMITE PARK LANE                                                  Due Date:         05/01/2022
      SNELLVILLE GA 30039                                                      Total Amount Due:     $33.53



Payment Notice                                                                 Policy Info

Your employer has notified us to remove your insurance listed on this notice   Policy tf: AXXXXXXXX
from the payroll deduction billing. However, you can continue your coverage    Underwritten by Liberty National Life
by completing the Auto-Pay Authorization on the back of this letter and        Insurance Company, a Globe Life company
returning it to us w ith your payment for the Total Amount Due. Thereafter,
we will draft your bank account each month for the monthly amount due.

If you do not wish to pay by bank draft, please remit the amount due shown     Need Assistance?
below with the premium notice attached to the bottom of this page. We will
then send you a premium notice when your insurance becomes due in the
future.
                                                                               @       LNWorksite@Globe.Life



You are a valuable customer and we hope to continue serving your insurance            888-488-0134
                                                                                      Mon - Fri, 7:30am - 5:00pm
needs. If you have any questions, please contact us at 888-488-0134.
                                                                                      Central Time

Policy details continued on reverse




              RETURN THIS STUB BELOW WITH PAYMENT. MAKE YOUR CHECK PAYABLE TO LIBERTY NATIONAL


Edgina T Smith                              Bill Date: 05/02/2022
3855 Yosemite Park Lane                     Phone: 305-904-7059                Due Date:         05/01/2022
Snellville GA 30039                         Email: ginahendrix@hotmail.com     Total Amount Due:     $33.53

                                                                               Policy Info
MAIL TO: ATTN: LN Worksite Billing Dept.                                       Policy#: AXXXXXXXX
         PO Box 248889
         Oklahoma City, OK 73124



     □    I'd like to make automatic payments from my
          checking account (see reverse side).
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                                                         FiledSMITH
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                                                                    - Outlook Page 13 of 16



       Fw: INSURANCE NON-PAYMENT AND CANCELATION ENCLOSED FOR EDGINA T.
       HENDRIX SMITH
                                       '       '                              .
       EDGINA SMITH        <esmith@familytiesinc.c om>
       Thu 5/12/2022 3:41 AM
       To: Randy Joseph <RJoseph@familytiesinc.com>
       Ce: Allyson Moore <amoore@familytiesinc.com>
       Why did it stop?.I never requested for it to be stopped. I left 1 voicemail message and I called you 4
       times. I sent several emails, and I thought the policy was to respond to e-mails and phone calls every 4
       hours· or at least once a day. I also requested the phone numbers for my other policies. I really need to
       investigate.

       I am a military veteran, so I never took out medical insurance, however, I took out an additional policy
       for short term disability as well as for another life policy with Colonial. Can you please provide me with
       the phone number so that I can verify. Also, can you please explain why this policy was unpaid and
       stopped? I really need all of these matters addressed today, if possible. The sooner the better.

       Edgina Smith, Therapist


       From: Tamara Jackson <tjackson@familytiesinc.com>
      Sent: Wednesday, May 11, 2022 2:33 PM
      To: EDGINA SMITH <esmith@familytiesinc.com>
      Cc: Randy Joseph <RJoseph@familytiesinc.com>; Allyson Moore <amoore@familytiesinc.com>
      Subject: Re: INSURANCE NON-PAYMENT AND CANCELATION ENCLOSED FOR EDGINA T. HENDRIX SMITH

       Hi:

      Unfortunately, I did not receive a voice message from you today or yesterday. As Allyson explained, we were away
      from the office on Monday and Tuesday.

      I did investigate your request further. It appears that your policy was inadvertently terminated. I have reached
      out to Liberty National for them to reinstate the policy. They may reach out to you again for verification and
      additional information. Your payroll deductions have not stopped. Your portion of the monthly invoice will be
      paid on your behalf once the policy reinstated .

      Thanks,

      Tamara Jackson
      Family Tics Enterprise, Inc.
      770.331.0109 (Cell)

      From: EDGINA SMITH <esmith@familytiesinc.com >
      Date: Wednesday, May 11, 2022 at 8:27 AM
      To: Tamara Jackson <tjackson@familytiesinc.co m>
      Cc: Randy Joseph <RJoseph@familytiesinc.co m>
      Subject: Fw: INSURANCE NON-PAYMENT AND CANCELATION ENCLOSED FOR EDGINA T. HENDRIX SMITH

      Good Morning:


https://outlook.office.com/mail/inbox/id/AAQkADkvZTE4ZGJiLTRkOTotNDdlYS1hNDY4LTlwODNhYWNiNTozZaAOAE6%2FU2QxcLdGokzOSNhahRk. ..   1/2
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                                                                      - Outlook Page 14 of 16

       Elicia Green, M ED ST
       Regional Lead                 __
       Region 2 (Gwinnett, Forsyth, Hall Counties)
       Family Ties Enterprises, Inc
       270 Carpenter Dr NE, Suite 400
       Sandy Springs, GA 30328

       Co~fidentiality Notice: The information transmitted is intended only for the person or entity to which it is addressed and may contain
       confidential, propriety, and/or privileged material. Any review, retransmission, dissemination or other use of, or taking of any action in
       reliance upon, this information by person or entities other than the intended recipient is prohibited. lfyou received tltis in error, please
       contactthe sender and delete the material from all computers.
       HIPAA Privacy Notice: JllPAA requires covered entities to safeguard certain Protected Health Information (PJll) related to a person's
       healthcare. Information being sent to you may include PHI, after appropriate consent, acknowledgement, or authorization from the patient or
       under circumstances that do not require patient authorization. You may not re-disclose this patient information without additional patient
       consent or as required by law. Unauthorized re-disclosure or failure to safeguard PHI could subject us, or you, to penalties described in
       federal and state law. If you, the reader of this message, are not the intended recipient, please notify us immediately and destroy the related
       message.




https://ouUook.office.com/mail/inbox/id/AAQkADkvZTE4ZGJiLTRkOTQtNOdlYS1 hNOY4LTlwODNhYWNiNTazZQAQAEKxurL8x55NkhlEJ%2Fb3 Fva%30                           2/,
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                                                                      - Outlook Page 15 of 16



       Re: E       I tI   VSmith Case _.                                   \   I


       EDGINA SMITH         <esmith@familytiesinc.com>
       Thu 5/12/2022 3:57 AM
       To: Elicia Green <egreen@familytiesinc.com>
       Cc: Tiffani Cruz <TCruz@familytiesinc.com>
       I told her there are no units. I left her a message and called her previously. This case was removed from
       my caseload. I d9 not know her number. I feel a Supervisor should contact her. What more can I say
       regarding this case? You assigned this case to another Therapist who is working with their child. Perhaps
       you should notify that therapist. I called her last week and told her there are no units. I haven't written
       a note on Caylor since January 2022.

       Also, units for 'tll!lat reappeared. The dates for unit approval are showing back up during the time in
       which I stopped seeing her because she ran out of units, and this makes no sense. The Judge and her
       lawyer and case worker keep calling me regarding units. I have nothing to do with units. I see clients and
       provide therapy and I ask for more if necessary. I have asked more units for a couple of clients, and the
       workers swear they send the units but I never get them.

       Yesterday, the Case Worker for                   and 1M fl I .i e       sent me a copy for proof that she
       sent the units. I called Christi Gilbert and they were added back to my case load. This case was a serious
       one. I have no idea of what is going on and only a Supervisor could answer her questions. I stopped
       seeing them because they are out of units. If you provide me with her number, I will call her. I do not
       have access to the worker's info once the case is removed from my caseload. I am concerned about - ,
       Willllalil as well . The .Judge and Case Worker wanted him to remain in therapy. When I went to work on a
       note, the units were there. When I went back in to complete the note, his units were gone. I don't know
       what is going on. The clients and workers ask for me because they like me, I respond to them and they
       call me personally and tell me units have been sent. I never get units and the cases have to close. Maybe
       there is a disconnect in the chain. I feel badly for the client when I have to terminate their services and
       the Worker keeps telling me that units were sent. Please provide me with her number, and I will call her
       today. This morning. Thanks.

       Edgina Smith, Therapist



       From: Elicia Green <egreen@familytiesinc.com>
       Sent: Wednesday, May 11, 2022 11:38 AM
       To: EDGINA SMITH <esmith@familytiesinc.com>
       Cc: Tiffani Cruz <TCruz@familytiesinc.com>
       Subject: E. Caylor/Smith Case

       Good Afternoon Edgina,

       Were you able to follow up with DFCS Ms ...
                                                1illllll•I• : about therapy services for the Caylor case? If not,
       please do.

       Thanks,

       Elicia


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5/12/22, 4:01 AM   Case 1:22-cv-02063-SCJ Document
                                               Mail-3EDGINA
                                                       FiledSMITH-
                                                             05/25/22
                                                                   Outlook Page 16 of 16

       From: EDGINA SMITH <esmith@familytiesinc.com>
       Sent: Wednesday, May 11, 2022 ll:05 AM
       To: Peter Adz1Jdzor <PAdzudzor@familytiesinc.com>
       Subject: Reassessments and Payments for.._ and :nm

       Good Morning Mr. Peter:

       I noticed that the reassessments were not locked regarding the above noted clients that I completed
       reassessments on back on 4/26 and 4/27/2022. Can you please call me at 305-904-7059 so that we can
       discuss and resolved, and so that I can be compensated. I would greatly appreciate it.

       Edgina Smith, Therapist
       cell: 305-904-7059




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